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Final Administrative Removal Order
in removal praceedings under section 238(b) of the Immigration and Nationality Act
Event No: ATL2011000135
FIN: 1075305493

Filé Number 088 933 316
Date December 15, 2019

To: SALVATORE Haicnso Go“EZ

 

Address: usr acu 601 mcponougu avn SE ATLANTA, GEORGIA, 30315
(Numbor, Street, City, State and ZiP Codd)

We Telephone: —

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ORDER

Based upon the allegations set forth in the Notice of Intent to issue a Final Administrative Removal Order and
evidence contained in the administrative record, |, the undersigned Deciding Officer of the Department of
Homeland Security, make the following findings of fact and conclusions of law. | find that you are not a citizen or
national of the United States and that you are not lawfully admitted for permanent residence. | further find that
you have a final conviction for an-aggravated felany as defined in section 101 (a)(43)(6,0) of the Immigration and
Nationality Act (Act) as amended, 8 U.S.C. 1 101{a)(43)(8,U), and are ineligible for any relief from removal that the
Secretary of Homeland Security, may grant in an exercise of discretion, | further find that the administrative
record established by clear, convincing, and unequivocal evidence that-you are deportable as an alien convicted
of an aggravated felony pursuant to section 237(a)(2)(A)(ili) of the Act, 8 U.S.C. 1227(a)(2){A)(iii). By the power
and authority vested in the Secretary of Homeland Security, and in me as the Secretary's delegate under the laws
af the United States, | find you deportable as charged and order that you be removed from the United States to:

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or to any alternate country prescribed in section 241 of the Act. >
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Cc . Cc, Cw Gm

(Signatube of Authorizad Official)

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Va (Bo Atlanta GA

(Date and Office Locaucn}

 

Certificate of Service

| sérved this FINAL ADMINISTRATIVE REMOVAL ORDER upon the above named individual.

fic] 2020 IG.25 ICDC {n) PERSOA)

{Oate, Time, Place and Manner ef Sertee)

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. (Signature and Tie of Otficer)

Form I-B51A (Rev. 08/01/07}
